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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


20230930-DK-BUTTERFLY-1, INC., f/k/a                               ECF CASE
BED BATH & BEYOND INC.,

               Plaintiff,                                    No. 24-cv-5874 (NRB)

                       – v. –
                                                      FIRST AMENDED COMPLAINT
RYAN COHEN and
RC VENTURES LLC,                                               JURY DEMAND

               Defendants.



               Plaintiff 20230930-DK-Butterfly-1, Inc., f/k/a Bed Bath & Beyond Inc.

(“BBBY”), by its undersigned counsel, pleads for its First Amended Complaint as

follows:

                                    INTRODUCTION

               1.      This is an action to recover more than $47 million in profit realized

in violation of Section 16(b) of the Securities Exchange Act of 1934, as amended (the

“Act”), 15 U.S.C. § 78p(b).

               2.      Section 16(b) was enacted “[f]or the purpose of preventing the

unfair use of information which may have been obtained by [an insider] by reason of his

relationship to the issuer.” 15 U.S.C. § 78p(b).

               3.      The statute applies to every director or officer of an issuer with a

class of equity securities registered under Section 12 of the Act. Id. § 78p(a). It also

applies to every “beneficial owner” of more than 10% of any such class. Id.

               4.      Under Section 16(b), these statutory insiders must return to the
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issuer any profit realized on any purchase and sale, or sale and purchase, of the issuer’s

equity securities within any period of less than six months. Id. § 78p(b). If an insider

fails to return this “short-swing” profit, the issuer may bring suit to recover it. Id.

               5.      Liability under Section 16(b) is strict. The issuer has the right to

recover the profit from a short-swing transaction “irrespective of any intention on the part

of [the insider] . . . in entering into such transaction.” Id. Recovery never depends on

proof of scienter, a breach of duty, or the actual misuse of inside information. See

Reliance Elec. Co. v. Emerson Elec. Co., 404 U.S. 418, 422 (1972).

               6.      Plaintiff BBBY, the issuer formerly known as Bed Bath & Beyond

Inc., brings this action under Section 16(b) against two erstwhile investors: Defendants

Ryan Cohen (“Cohen”) and RC Ventures LLC (“RC Ventures” and, collectively with

Cohen, the “Cohen Defendants”).

               7.      The Cohen Defendants made dozens of purchases and sales of

BBBY’s equity securities between January and August 2022, all of them profitable and

most within a single period of less than six months. At the time the profit was realized in

August 2022, the Cohen Defendants were acting as BBBY’s statutory directors, entitling

BBBY to recovery of the short-swing profit under the plain text of Section 16(b). BBBY

is entitled to recover a portion of the short-swing profit for the additional reason that the

Cohen Defendants beneficially owned more than 10% of BBBY’s outstanding common

stock when some of the purchases and sales were made.

               8.      From their purchases and sales of BBBY’s equity securities within

a period of less than six months, the Cohen Defendants realized a total profit of more




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than $47 million. Under Section 16(b) of the Act, that profit is the lawful property of

BBBY, which the Cohen Defendants are strictly liable to account for and repay.

                             JURISDICTION AND VENUE

               9.      Jurisdiction is conferred on this Court by Section 27 of the Act, 15

U.S.C. § 78aa, and by 28 U.S.C. § 1331.

               10.     Venue lies in this District under Section 27 of the Act and under 28

U.S.C. § 1391(b)(2) because (a) the transactions listed in paragraphs 163-172 below were

executed through brokers and market makers located in this District, including the Cohen

Defendants’ securities broker, J.P. Morgan Securities LLC, based in midtown Manhattan;

and (b) the stock transactions listed in paragraphs 163-172 below were executed through

the facilities of The Nasdaq Stock Market LLC, a national securities exchange registered

under Section 6 of the Act, 15 U.S.C. § 78f, and located in this District.

                                     THE PARTIES

               11.     Plaintiff BBBY is a corporation formed under the law of the State

of New York, with a principal place of business formerly located in Union, New Jersey.

BBBY was known as “Bed Bath & Beyond Inc.” at all relevant times until September 21,

2023, when it changed its name to “20230930-DK-Butterfly-1, Inc.” as part of its wind-

down following Chapter 11 bankruptcy. At all relevant times, BBBY’s common stock

was registered under Section 12(b) of the Act, 15 U.S.C. § 78l(b), and was listed for

trading on the Nasdaq Global Select Market.

               12.     Defendant Ryan Cohen is a natural person, a citizen of Canada,

and a resident of the State of Florida. Through his personal investment vehicle RC

Ventures, Cohen exercised voting and investment power over all of the BBBY securities

beneficially owned by RC Ventures as described herein.


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                13.   Defendant RC Ventures LLC is a limited liability company formed

under the law of the State of Delaware with a principal place of business located in the

State of Florida. Cohen owned and controlled RC Ventures at all relevant times, serving

as its sole manager and using it as a holding company to invest his personal fortune. At

Cohen’s direction, RC Ventures directly purchased, sold, and held all of the BBBY

equity securities in which the Cohen Defendants transacted as described herein.

                                      THE FACTS

I.      THE INSIDERS

        A.      The Cohen Defendants’ Investment in BBBY

                14.   The Cohen Defendants made their first investment in BBBY in

January 2022.

                15.   Through steady open-market purchases of BBBY common stock

and call options, the Cohen Defendants had acquired beneficial ownership of 9,450,100

BBBY shares by March of that year.

                16.   On March 7, 2022, the Cohen Defendants publicly disclosed their

position by filing a statement of beneficial ownership on Schedule 13D with the SEC.

                17.   The Cohen Defendants would amend that statement twice before

filing a third and final amendment in August 2022 upon the profitable exit of their

investment.

                18.   Copies of the Cohen Defendants’ original and amended statements

on Schedule 13D are attached as Exhibits A-D to this First Amended Complaint.

                19.   The original Schedule 13D filed on March 7 included as an exhibit

a copy of a letter of March 6 that Ryan Cohen had sent to the BBBY board.




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               20.     Cohen’s letter criticized the strategy and execution of BBBY’s

management, observing that BBBY’s stock had underperformed its benchmark “across

every relevant time horizon.” Ex. A ex. 99.1 at 1.

               21.     The letter then offered four “suggestions” for righting the ship:

(1) focus on a “core set of objectives,” such as “front-loading the modernization of

[BBBY’s] supply chain and technology stack”; (2) sell or spin off BBBY’s subsidiary,

buybuy Baby, Inc., which the Cohen Defendants viewed as the company’s crown jewel

and a significant source of trapped value; (3) as an alternative to selling buybuy Baby,

evaluate the possibility of selling BBBY intact to a “well-capitalized financial sponsor[]”;

and (4) improve executive compensation to “strengthen leadership’s alignment with

shareholders.” Id. at 2-4.

               22.     The letter closed by urging management to “act[] with urgency to

implement the aforementioned suggestions,” warning that RC Ventures would “hold the

Board and management accountable if necessary.” Id. at 4.

               23.     Cohen’s letter got results. On March 25, 2022, BBBY announced

that it had entered into an agreement with the Cohen Defendants (the “Cooperation

Agreement”) to add three new members to its board. Ex. B ex. 99.1.

               24.     The Cooperation Agreement required BBBY to expand its 11-

member board to 14 seats and fill the three vacancies with the following persons

handpicked by Cohen: Marjorie L. Bowen, Shelly C. Lombard, and Benjamin

Rosenzweig (collectively, the “Cohen Appointees”). Id. § 1(a)(i).

               25.     The agreement also obligated BBBY to appoint directors Bowen

and Rosenzweig to a four-member Strategy Committee formed “with an agreed upon




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charter to support the Board’s oversight and review of a strategic analysis of the buybuy

BABY business.” Id. § 1(b)(i).

                    26.   BBBY also agreed to nominate and support the Cohen Appointees

for election to full one-year terms as directors at the company’s next annual meeting in

July 2022. See id. § 1(a)(i)(B).

                    27.   If one of the Cohen Appointees resigned or otherwise ceased to

serve as a director during the agreement’s term, the Cooperation Agreement gave the

Cohen Defendants the right to fill the vacancy with a reasonably acceptable replacement.

See id. 1(a)(ii).

                    28.   In return for these significant benefits, the Cohen Defendants

agreed to a yearlong standstill that barred them from, among other things, waging a proxy

contest or owning more than 19.9% of BBBY’s common stock. See id. § 2(a).

                    29.   The Cooperation Agreement also generally obligated the Cohen

Defendants to vote their BBBY shares during the standstill in favor of the board’s

director nominees and otherwise as directed by the board. Id. § 1(e)(iii).

                    30.   Unlike most agreements of its kind, the Cooperation Agreement

did not obligate the Cohen Defendants to maintain the confidentiality of any nonpublic

information they obtained from BBBY. It also did not restrict the Cohen Defendants’ use

of that information.

                    31.   The Cohen Defendants (whom the Cooperation Agreement

referred to collectively as “RC Ventures”) were required only to “acknowledge[]” that the

U.S. securities laws “may” prohibit insider trading. See id. § 1(f) (“Acknowledgement.

RC Ventures acknowledges that it and its Affiliates and Associates are aware that the




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United States securities laws may prohibit any person who has received from an issuer

material, nonpublic information from purchasing or selling securities of such issuer or

from communicating such information to any other person under circumstances in which

it is reasonably foreseeable that such person is likely to purchase or sell such securities.”).

               32.     The Cohen Appointees officially joined BBBY’s board with the

signing of the Cooperation Agreement on March 24, 2022. Bowen and Rosenzweig

officially joined the Strategy Committee the same day.

               33.     The Cohen Appointees would remain on BBBY’s board for the

duration of the Cohen Defendants’ investment in BBBY.

       B.      The Cohen Defendants as Statutory Directors

               34.     The Act defines a “director” as “any director of a corporation or

any person performing similar functions.” 15 U.S.C. § 78c(a)(7).

               35.     As the phrase “or any person performing similar functions” makes

clear, the term “director” is not limited to the persons who formally hold that title. The

term extends as well to any person who “functions” as a director, as through a “deputy”

on the issuer’s board. Blau v. Lehman, 368 U.S. 403, 409 (1962). Since the Act includes

many entities and institutions under the umbrella of “person,” see 15 U.S.C. § 78c(a)(9),

it is not even necessary that the “person” who “functions” as a “director” be a flesh-and-

blood human. See Lehman, 368 U.S. at 409.

               36.     Rather, a person or entity will qualify as a director under

Section 16(b) if the person or entity “function[s] as a director” through a board deputy,

who “perform[s] a director’s duties not for himself but for [the deputizing party].” Id. at

410.




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               37.     The Cohen Defendants were statutory directors of BBBY for

purposes of Section 16(b) because they deputized the Cohen Appointees to serve as their

representatives on BBBY’s board. As alleged in the following paragraphs, the Cohen

Appointees performed their duties as directors for the benefit of the Cohen Defendants.

They secured the Cohen Defendants access to and influence over BBBY’s management,

and through the Cohen Appointees the Cohen Defendants received significant material

nonpublic information about BBBY.

               1.      The Cohen Appointees Represented the Cohen Defendants on
                       BBBY’s Board

               38.     From the very beginning of his engagement with BBBY, Cohen

made clear that he intended to be a hands-on partner. In a March 12 email to board chair

Harriet Edelman, shortly before the Cooperation Agreement was memorialized, Cohen

wrote that he “look[ed] forward to being a partner to [then-CEO] Mark [Tritton] and a

refreshed board/new committee.” He even urged BBBY’s management to issue a public

statement that the board was “serious about collaborating” with him. In her March 16

response to Cohen, Edelman predicted that the Cooperation Agreement would form a

“strong foundation” for a “a long term, collaborative relationship.”

               39.     Cohen did not personally join BBBY’s board only because he

lacked the time, having already assumed the chair of another public company, GameStop

Corp. “Given that I am the Chairman of GameStop and overseeing a systematic

transformation,” his March 6 letter explained, “I am not in a position to join Bed Bath’s

Board and personally drive the initiatives outlined in this letter.” Ex. A ex. 99.1 at 4.

               40.     Because Cohen could not “personally” drive his initiatives as a

BBBY board member, he relied on his three directors to drive the initiatives for him, and



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the Cohen Appointees understood that they were serving on BBBY’s board as

representatives of the Cohen Defendants.

               41.      Cohen Appointee Ben Rosenzweig described this arrangement in

unvarnished terms. At his very first meeting with BBBY’s management in March 2022,

Rosenzweig announced to the room, “I will be representing Ryan as if I owned the 10%

myself.”

               42.      Rosenzweig doubled down at a later meeting that same day, telling

BBBY’s management, “Ryan does not want to be on the board — [he] wants directors on

as indirect proxy.”

               43.      At least four members of BBBY’s management — including

Tritton, director Sue Gove, chief legal officer Arlene Hong, and director Ann Yerger —

heard one or both of these remarks first-hand.

               44.      All three Cohen Appointees urged the board to give Cohen more

influence and access.

               45.      Cohen Appointee Marjorie Bowen pressed BBBY’s board to bring

Cohen “under the tent” — i.e., to have him sign a nondisclosure agreement so he could

have advance access to material nonpublic information about the company. The

nonpublic information she wanted Cohen to access included unreleased earnings reports.

               46.      In a related case brought before another court, Rosenzweig

admitted in sworn testimony that he asked board chair Harriet Edelman and then-CEO

Mark Tritton “whether they would be willing to have a confidential discussion with Ryan

Cohen.” The purpose of the meeting would be to “[d]iscuss the state of the business,

solicit [Cohen’s] feedback, basically broaden and deepen the relationship with him.”




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               47.     Independent director Sue Gove, who would succeed Tritton as

interim CEO, testified in that same case that Rosenzweig also wanted to get Cohen access

to earnings releases and advance information on any sale or spinoff of buybuy Baby.

               48.     In a June 24 email to Gove, sent after she was tapped to replace

Tritton as CEO, Rosenzweig urged her to “be more proactively working in partnership

with Ryan in order to set the company (and you) up for success.” Rosenzweig added that

he “kn[e]w a few other directors (including [Cohen Appointees] Marjorie [Bowen] and

Shelly [Lombard]) also feel that the company can greatly benefit from a deliberate plan

of action surrounding the transition.”

               49.     At her own deposition, Cohen Appointee Lombard testified that

she approached Cohen in May 2022 to discuss getting him access to material nonpublic

information about BBBY. She reached out to Cohen because “[t]here had been some

discussion on the board about [Cohen] getting restricted, so he could get non-public,

material non-public information and assist with the turnaround of the company.”

               50.     This “discussion” was driven entirely by the Cohen Appointees, as

the rest of BBBY’s board opposed giving Cohen access to nonpublic information.

               51.     Gove confirmed the schism at her deposition. She testified that

directors Bowen, Lombard, and Rosenzweig were the only members of BBBY’s board

who supported giving Cohen access to material nonpublic information.

               52.     When asked “what would the company achieve if Cohen was given

this information before other investors,” Gove testified:

                       A. None that I could think of.

                       Q. Did they ever explain why they wanted to do this?

                       A. No.


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                        Q. Did it make sense to you?

                        A. No.

                       Q. Did the company ever entertain a proposal like this for
                any other shareholder while you were at the company?

                        A. No.

                        Q. So, it was only Mr. Cohen?

                        A. Right. . . .

                53.     The division between the Cohen Appointees and the rest of the

board went beyond policy. It cut to the basics of the governance process. Acting more

like a delegation than three independent fiduciaries, the Cohen Appointees caucused

separately from the board, holding their own exclusive meetings by phone or text or in

Internet chatrooms.

                54.     In one such chatroom caucus, Bowen referred to Cohen as “our

beloved Ryan Cohen.”

                55.     On another occasion, the three Cohen Appointees convened in a

private chatroom while simultaneously attending a meeting of the board. Unbeknownst

to their fellow directors, the three Cohen Appointees were conversing with one another

through this back channel even as they participated in the board meeting. The private

messages the Cohen Appointees exchanged during the meeting included commentary

(e.g., “This is nuts”); planning (e.g., “We will go to Harriet after call.”); advice (e.g.,

“Follow Ryan’s playbook.”); and encouragement (e.g., “Go Shelly go!!!”).

                56.     The last messages from that chat session indicate that the Cohen

Appointees also planned to hold a “wrap up call” among themselves after the board

meeting concluded.




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                 2.    The Cohen Appointees Secured the Cohen Defendants Access
                       to Management and Material Nonpublic Information

                 57.   Despite the misgivings of the rest of the board, the Cohen

Appointees prevailed in securing the Cohen Defendants significant access to material

nonpublic information about BBBY.

                 58.   Some of the confidential information the Cohen Defendants got

came courtesy of the Cohen Appointees themselves.

                 59.   Director Rosenzweig’s phone records show that he and Cohen

spoke by telephone on April 15, 2022, April 16, 2022, May 7, 2022, and May 8, 2022.

The April 16 call lasted nearly 40 minutes, and the May 8 call lasted nearly 30 minutes.

                 60.   In his sworn testimony, Rosenzweig admitted giving Cohen

nonpublic information on these calls, though he downplayed the information’s

materiality. Rosenzweig described his conversations with Cohen as “high-level

observation[s]” about BBBY board dynamics. The two discussed whether board

members “seemed, you know, friendly, whether they seemed open to new perspectives,

whether we would be able to get along and there [sic] are collegial, things like that.”

                 61.   Director Lombard likewise met privately with Cohen to discuss

BBBY in a May 2022 Zoom.

                 62.   Beyond their direct communications with Cohen, the Cohen

Appointees served as a gateway to the rest of BBBY’s management, securing the Cohen

Defendants access to significant material nonpublic information, including unreleased

earnings data.




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               63.    On the morning of June 29, 2022, BBBY announced its dismal

earnings for the first quarter of fiscal year 2022. The announcement included the

astonishing news that BBBY’s quarterly sales had declined 25% year over year.

               64.    In a separate release issued just minutes earlier, BBBY also

announced that it was replacing its CEO Mark Tritton with independent director Sue

Gove, who would act as interim CEO until a permanent replacement was found.

               65.    The double whammy of the earnings miss and management

shakeup shocked the market, which sent the stock tumbling more than 23% on June 29.

               66.    Cohen got the shock a day early because BBBY told him the news

on June 28. A day before the public announcement, BBBY chair Harriet Edelman held a

45-minute Zoom meeting with Cohen on which she disclosed key earnings data and gave

Cohen a heads-up about Tritton’s termination.

               67.    Gove later testified that the board gave Cohen a sneak peek at this

material news at the insistence of director Rosenzweig.

               68.    According to Gove, Rosenzweig especially wanted Cohen to be

told of the CEO’s replacement because Rosenzweig feared Cohen would feel

“blindsided” if he had to learn from the media about a significant personnel decision in

which his own directors had participated.

               69.    The Zoom between Cohen and Edelman ended up ranging far

beyond the earnings release and personnel move. Edelman took contemporaneous notes

on the call, which she emailed to the rest of BBBY’s board.

               70.    A copy of Edelman’s email is included in an email chain attached

as Exhibit E to this First Amended Complaint.




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                  71.     According to Edelman’s notes, Cohen asked multiple questions

about BBBY’s cash flow and liquidity. He wanted to know if BBBY was upsizing its

revolving credit line; if it was considering selling shares; and how it planned to repay or

refinance its senior unsecured notes due 2024. Ex. E at 2.

                  72.     Cohen also asked about BBBY’s inventory management and its

private label (or “Owned Brands”) strategy, as well as questions about CEO succession

and finding a permanent replacement for Tritton. Id.

                  73.     Finally, Cohen urged Edelman to be very aggressive about cutting

overhead, insisting BBBY “can’t cut enough.” Id.

                  74.     Cohen’s June 28 Zoom with Edelman was not his only private

exchange with BBBY’s management. Aside from his communications with the Cohen

Appointees, records show that Cohen communicated with BBBY directors or officers by

email, phone, or videoconference on at least April 7 and 27, June 22, 28, 29, and 30, and

July 1, 15, 21, and 22.

                  75.     Cohen was upfront about his expectations for information. In an

April 27 email to Edelman, Cohen laid out a bulleted list of his “high-level thoughts” for

improving the business. He solicited her views and also asked her to forward his email to

the full board.

                  76.     A copy of Cohen’s April 27 email to Edelman is included as part

of the email chain attached as Exhibit F to this First Amended Complaint.

                  77.     Cohen closed his email with the following directive:

                  Since we’re under an agreement, there’s mutual respect, and I’d
                  like to hear your views via phone or email on these points. This is
                  a partnership now and it shouldn’t be a one-way conversation. We




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               have to work together to get this business turned around as quickly
               as possible. I’m looking forward to collaborating with you often.

               78.     A repeated Cohen tactic in his exchanges with BBBY management

was to forswear any interest in material nonpublic information right before asking for

exactly that kind of information.

               79.     In an April 7 email to then-CEO Mark Tritton, Cohen asked to

have a call “to catch up” and get a “ ‘big picture’ discussion” about the company,

stressing that he wanted “nothing about the quarter or restricted information.”

               80.     In the same paragraph, however, Cohen explained that he wanted

to know how Tritton’s “[enterprise] plan took shape, how we’re tracking against it and

what you see as the go-forward priorities or areas to course correct.”

               81.     Because BBBY was then at an inflection point from recovery to

decline, any information about how the business was “tracking” against plans, or needed

“course correc[tion],” would have been important to investors.

               82.     The timing of Cohen’s email was also significant, as he reached

out to the CEO less than a week before BBBY was set to release its fourth-quarter and

full-year earnings for fiscal year 2021. Any discussion of how the business was tracking

against plans or needed course correction would undoubtedly reveal nonpublic

information about how BBBY had performed over that most recently completed quarter.

               83.     Tritton deflected Cohen’s offer by agreeing to speak with him but

insisting they wait until after earnings. Deferring the call, Tritton explained, would let

him “share more context on immediate performance and schedule to talk about our

Enterprise plan creation, execution and trajectory.”




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               84.     When the call was finally held, Cohen continued his probe.

BBBY’s management contemporaneously prepared a rough transcript of the call, an

excerpt of which is attached as Exhibit G to this First Amended Complaint.

               85.     The transcript shows that Cohen at one point asked, “How do you

feel about the balance sheet? Is it safe to assume we’re in for more operating losses?”

               86.     Tritton demurred: “Not at liberty to say at this point.”

               87.     Cohen appeared to move on but moments later re-asked essentially

the same question: “So how do you currently feel about the balance sheet?”

               88.     This time BBBY’s CFO Gustavo Arnal jumped in with a fairly

detailed response:

               A few things (already disclosed) — Q1 is expected to be a loss and
               expected by the market with EBITDA in wide ranges contemplated
               by the market; key on balance sheet is getting into sustainable
               operating cash flow generation with key on inventory
               management . . . similar narrative across many retailers . . . cash
               flow generation challenges given inventory purchases and
               mismatch. Balance sheet insurance is ABL ($1B) liquidity . . .

               89.     Although Arnal’s remarks were qualified with “already disclosed,”

not all of the details he shared had previously been made public.

               90.     For example, the fact that management had come to view its asset-

backed facility as “insurance” against insolvency was new and ominous information, and

it drew an immediate reaction from Cohen:

               RC: Drawing down the ABL should only be done in a severe,
               catastrophic situation . . . feels like there are a lot of steps that
               could be taken to conserve cash besides drawing down on the
               ABL . . . cutting capex, reducing SG&A, turning inventory
               faster . . .

               91.     In a July 15 call with interim CEO Sue Gove after Tritton’s ouster,

Cohen continued to hunt for intel while disclaiming any such hunt. Gove’s notes on the


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call describe Cohen as “focused on liquidity” and asking “deep dive questions around

vendor support.”

                  92.    Gove corroborated these notes in her testimony:

                          So, as I mentioned before, he, you know, prefaced all of
                  this with, “I don’t want any MNPI. I don’t want any MNPI.” You
                  know, “Don’t want that. Be careful.” And then, he moved into
                  questions on liquidity and specifically asked were the vendors
                  providing support? Had I had conversations with the vendors?
                  You know, how was that going? What was taking place?

                  93.    While Cohen laundered his questions with the caveat that he

wanted no material nonpublic information, the information he sought was nonpublic and

highly material to an investment in BBBY at that time.

                  94.    By 2022, BBBY had begun deferring payments to some vendors to

conserve cash. These deferrals were risky because vendors might respond by halting

deliveries of inventory, and enough vendor defections could tip the business into a

tailspin. Inventory shortfalls meant unstocked shelves, which meant lost sales and lost

customers, leaving BBBY with even less cash to pay vendors and even deeper inventory

shortfalls and steeper sales declines.

                  95.    As a result, questions about “liquidity” and “vendor . . . support”

were among the most material ones Cohen could have asked at this critical juncture in

BBBY’s turnaround.

                  96.    Cohen also demanded advance knowledge of any dilutive stock

offerings BBBY might do, even if he had to sign up a nondisclosure agreement to get it.

Gove testified:

                         A. He was very specific that he did not want anything that
                  we were doing to be dilutive to shareholders, and that if there was
                  anything that might, you know, that would have any potential of
                  being dilutive to shareholders, he would want to be — he would be


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              wanting to consider being brought into the tent at that point in
              time.

                      Q. To get what, more information?

                      A. To get information.

              97.     As a follow-up to the July 15 call, Edelman reached out to Cohen

by email on July 21 and asked if she and Gove could come to meet with him in Florida.

              98.     Cohen emailed back that there was no need to meet in person

because they could always confer by video or phone. He added, “Happy to do so before

September if you’d like.”

              99.     No further exchange occurred, because the Cohen Defendants

dumped their entire BBBY position on the market just a few weeks later in mid-August.

              100.    Most of the Cohen Appointees did not stick around long after the

Cohen Defendants liquidated their holdings. Rosenzweig left the board on December 20,

2022, and Bowen followed him out on February 11, 2023. Neither director served the

full term for which the Cohen Defendants had them appointed.

              101.    Only director Lombard stood for reelection at BBBY’s 2023

annual meeting. She would remain a director until the board was disbanded in BBBY’s

bankruptcy.

              3.      The Cohen Appointees Were Widely Viewed as
                      Representatives of the Cohen Defendants

              102.    The view that the Cohen Appointees were serving as the Cohen

Defendants’ representatives on BBBY’s board — and as conduits of material nonpublic

information for Cohen personally — was widely held both within and beyond the

company.




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                103.   An Agence France-Presse dispatch after the announcement of the

March 2022 Cooperation Agreement referred to Rosenzweig, Bowen, and Lombard as

Cohen’s “representatives to the board of directors.”

                104.   Wall Street Journal editor Spencer Jakab has likewise described

Cohen’s mission at BBBY as “push[ing] for changes and board representation.”

                105.   An item published in the Financial Times on June 29, 2022 even

reported (incorrectly) that the three Cohen Appointees were “members of Cohen’s firm,

RC Ventures.”

                106.   CNBC host Jim Cramer had the most pointed take, which he

offered in a segment on the morning of August 18, 2022, shortly after rumors of the

Cohen Defendants’ sales first made news. Cramer called it “quizzical” that the Cohen

Defendants would sell, considering that Cohen was “obviously in possession of material

inside information [because] he has three people on the board.”

                107.   Later that day, after the Cohen Defendants’ sales were publicly

confirmed, Cramer took to the air again, repeating that Cohen was an “insider” because

“he has three people on the board.” Addressing Cohen, Cramer asked, “did you really

file to sell or sell stock when you had material nonpublic information? Which you

certainly had, because your people were on the board.”

                108.   The inference that the Cohen Defendants’ sales were informed by

material nonpublic information gained strength over the following weeks as rounds of

bad news hit the market. In just the two weeks between August 18 and September 1, the

market learned that (1) suppliers had limited or stopped deliveries of inventory because

BBBY wasn’t paying them; (2) BBBY was laying off 20% of its workforce, closing




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150 stores, and cutting capital expenditures by $150 million; (3) BBBY had shelved plans

to sell or spin off buybuy Baby; (4) BBBY was launching a dilutive “at the market”

offering to sell $12 million in stock at firesale prices; and (5) BBBY’s credit rating had

been downgraded.

               109.    With the exception of the downgrade, BBBY’s board had material

nonpublic information about all of these events at the time of the Cohen Defendants’

sales. Work on the stock offering and the new buybuy Baby strategy had been ongoing

since early August. As previously alleged, Cohen was keen for advance information

about dilution and the fate of buybuy Baby, and the latter fell within the remit of the

Strategy Committee on which two Cohen Appointees sat.

               110.    Although the Cohen Defendants’ sales were not publicly disclosed

until August 18, rumors of the sales took flight on August 17 after RC Ventures made a

regulatory filing announcing a “potential sale” of its investment. Publicly, BBBY’s

management brushed the rumors off. In an anodyne statement released on the afternoon

of August 17 “in response to certain media inquiries,” the company did no more than

repeat old news that it was “pleased to have reached a constructive agreement with RC

Ventures in March and are committed to maximizing value for all shareholders.”

               111.    Privately, management was troubled by the possibility that the

Cohen Defendants had unloaded their entire BBBY stake in such well-timed sales. The

Cohen Appointees anticipated the public’s reaction to the sales, and at least one of them

lobbied BBBY’s board to allay any suspicion of impropriety. In a message to Edelman

on the evening of August 17, after BBBY’s public statement had been released, Lombard

suggested releasing a second statement exonerating Cohen of any wrongdoing:




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              I know the statement has already gone out. But if we the [sic]
              opportunity, is it worth making it clear that RC is not on the board;
              is not privy to what we’ve been working on nor the company’s
              recent results. He only has same info that’s in the media. We look
              forward to updating the market on our progress.

              112.    Until this idea was floated, no one in BBBY’s management had

given any thought to doing damage control for Cohen. The Cohen Defendants had not

even publicly confirmed their sales yet. Lombard’s proposal to exculpate the Cohen

Defendants came out of the blue.

              113.    Edelman nixed the proposal, paraphrasing her response to

Lombard in a later email to BBBY’s PR and investor relations personnel:

              I responded that it sounds like Shakespeare’s “thou doth protest too
              much . . .”. I asked whether there was a particular concern or signal
              she’s received that prompts the question . . . he is not on the board,
              explicitly stated when he invested he has no desire/intent to be on
              the board and the rest feels like we are responding before asked. I
              left it like that.

              114.    Gove, who was copied on Edelman’s email, responded: “Agree.

Not our concern to provide him a rep.”

              115.    BBBY’s reluctance to run interference for the Cohen Defendants

owed to something more than corporate protocol, for Gove and Edelman had their own

suspicions about the timing of the Cohen Defendants’ sales.

              116.    Both Gove and Edelman had heard Cramer’s August 18

commentary and exchanged text messages about it. In one of those exchanges, they

agreed that Cramer was asking “good questions” in wondering whether the Cohen

Appointees might have given Cohen a “signal” to sell.

              117.    Gove was asked about this exchange at her deposition:

                      Q. Signaled what to him?




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                       A. Signaled concerns to him.

                       Q. About the company?

                       A. Yeah.

                       Q. Like, sharing inside information?

                       A. Yeah.

                      Q. Right. So, you had concerns? And — and you — you
               had concerns about that?

                      A. As I — my response, “All good questions.” I certainly
               had questions about that.

               118.    Gove testified that she lost trust in Cohen because “[t]here was a

lot of things that had taken place between, you know, him and Marjorie and Ben and the

whole process that always left me uncomfortable.” She added that BBBY’s management

was “very careful with our conversations with [Cohen].”

               119.    When pressed on why she distrusted Cohen, Gove pointed to the

type of questions Cohen asked: “Just the actions of, you know, what he was questioning,

why he was questioning, where he was going with things, you know.”

               120.    Gove also singled out Rosenzweig for distrust. When asked why

she did not trust him, Gove testified:

                      A. Again, from the very first conversation I had with him,
               you know, the comment that he was acting as, you know, sort of,
               Ryan’s agent, put me in, you know, a — a concerned state about
               that.

                       Q. Anything else?

                      A. From there, just his general approach in terms of, you
               know, what information he wanted access to, some of the things
               that we’ve discussed today.

                       Q. Right. Like pushing to get information for Cohen?

                       A. Uh-huh.



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              121.   Gove also testified that board chair Edelman agreed with her that

observers were right to question whether the Cohen Appointees were feeding Cohen

material nonpublic information about BBBY.

              122.   And according to Gove, she and Edelman were not the only ones

who harbored suspicion:

                     [Q.] Who else agreed and thought that Cohen’s nominees
              were signaling to him?

                     A. I think from a board of director’s standpoint, you would
              have to ask each one, but I would, you know, venture to say that
              probably most of them.

                     Q. You thought most of them had doubts about that?

                     A. Had concerns, yes.

              4.     Summary

              123.   The Cohen Defendants functioned as directors of BBBY through

the Cohen Appointees, who performed their duties not for themselves but for the Cohen

Defendants.

              124.   The Cohen Appointees actually and avowedly represented the

Cohen Defendants on BBBY’s board, and they were viewed as representing the Cohen

Defendants by BBBY’s management and the market. Through the Cohen Appointees,

the Cohen Defendants obtained access to and influence over management, as well as

significant material nonpublic information about BBBY.

              125.   As a result, the Cohen Defendants were deemed statutory directors

of BBBY at all times from the appointment of the Cohen Appointees through the Cohen

Appointees’ departure from BBBY’s board. Any profit the Cohen Defendants realized




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from a “short-swing” transaction in BBBY’s equity securities during this period is subject

to recapture under Section 16(b).

       C.      The Cohen Defendants as BBBY’s 10% Beneficial Owners

               126.   In addition to functioning as BBBY’s statutory directors, the

Cohen Defendants were subject to Section 16(b) for much of 2022 as beneficial owners

of more than 10% of BBBY’s outstanding common stock.

               127.   When the Cohen Defendants first disclosed their BBBY position

on March 7, 2022, the statement they filed with the SEC disclosed beneficial ownership

of 9,450,100 shares. Ex. A tbls. line 11. The Cohen Defendants calculated that these

9,450,100 shares equaled 9.8% of BBBY’s shares outstanding. Id. line 13.

               128.   This percentage calculation assumed a denominator of 96,337,713

shares outstanding. Id. item 5(a). That was the number of BBBY shares outstanding on

November 27, 2021, as disclosed in BBBY’s quarterly report on Form 10-Q filed with

the SEC on January 6, 2022. Id.

               129.   But by the time the Schedule 13D was filed in March 2022,

BBBY’s share count from November 2021 was stale, and the Cohen Defendants had

abundant reason to know it was stale.

               130.   In the interval between the November 27 share count and the

March 7 Schedule 13D, BBBY completed an aggressive and well publicized series of

stock buybacks. The buybacks significantly reduced BBBY’s shares outstanding,

shrinking the denominator of the percentage beneficial ownership calculation and lifting

the Cohen Defendants above 10%.

               131.   BBBY’s board had approved its Accelerated Share Repurchase

program back in October 2020. The program allowed BBBY to repurchase, subject to


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market conditions, up to $675 million worth of its stock in annual increments through the

end of fiscal year 2023.

               132.   Just two months later, in December 2020, BBBY’s board approved

an additional Accelerated Share Repurchase program of $150 million. The new program

brought the total dollar amount BBBY was authorized to repurchase through the end of

fiscal year 2023 to $825 million.

               133.   The buybacks were expanded again in March 2021, when the

board authorized BBBY to repurchase an additional $175 million in stock, bringing the

total size of the Accelerated Share Repurchase program to $1 billion.

               134.   Finally, in October 2021, BBBY’s board approved a further

acceleration of the already “Accelerated” program. The latest move would pull forward

to fiscal 2021 the $300 million in share repurchases previously scheduled for fiscal years

2022 and 2023.

               135.   Combined with the $100 million in capacity remaining under the

Accelerated Share Repurchase program for fiscal year 2021, the October 2021 approval

gave BBBY authority to repurchase a total of $300 million + $100 million = $400 million

in stock in just the remaining few months of fiscal 2021.

               136.   All of the foregoing information about BBBY’s stock repurchases

was publicly disclosed before the Cohen Defendants began buying BBBY’s stock in

January 2022. For example, BBBY announced the October 2021 acceleration of the

program in a press release filed on November 2, 2021.

               137.   A copy of the November 2, 2021 press release is attached as

Exhibit H to this First Amended Complaint.




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               138.    The November 2 press release disclosed not only that BBBY had

authority to repurchase $400 million of its stock through the end of fiscal 2021 but that it

expected to complete the repurchases on schedule:

               UNION, N.J., Nov. 2, 2021 — Bed Bath & Beyond Inc.
               (NASDAQ: BBBY) today announced that it expects to complete
               its $1 billion three-year share repurchase plan by the end of fiscal
               2021, two years ahead of schedule.

               Program-to-date, the Company has completed $600 million in
               share repurchases since the end of fiscal 2020. The Company now
               expects to repurchase the remaining $400 million of the program
               by the end of fiscal 2021, specifically over the third and fourth
               quarters.

Ex. H at 1 (emphasis added).

               139.    BBBY’s fiscal year 2021 ended on February 26, 2022. Thus, any

reasonable investor who read the November 2 press release was on notice that BBBY

expected to repurchase $400 million of its stock in just the four months between

November 2021 and February 2022.

               140.    BBBY confirmed that conclusion with an investor presentation

published on January 6, 2022. The presentation disclosed that BBBY had already

delivered on expectations by completing a total of $120 million in share repurchases in

the third quarter of fiscal year 2021. It now expected to complete the Accelerated Share

Repurchase program by purchasing around $275 million worth of stock in just the fourth

quarter — a quarter that was close to half over.

               141.    On November 3, 2021, the day after the November 2 press release,

BBBY’s stock closed at $19.30 per share. At that price, $400 million in repurchase

capacity would buy around 20.7 million BBBY shares.




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               142.   By March 4, 2022, the last trading day before the Cohen

Defendants filed their March 7 Schedule 13D, the stock was even cheaper. It closed on

March 4 at just $16.18 per share.

               143.   Between November 2 and the end of fiscal 2021, BBBY’s stock

never traded above $25.72 per share.

               144.   Even if the entire $400 million in remaining repurchase capacity

had been spent at that $25.72 peak, BBBY would have reduced its share count by

$400,000,000 ÷ $25.72 = 15,552,099 shares during the remainder of fiscal 2021.

               145.   BBBY had disclosed 101,060,177 shares outstanding as of

August 28, 2021 and, as previously alleged, 96,337,713 shares outstanding as of

November 27, 2021. It disclosed no stock offerings between August 28, 2021 and

March 7, 2022, and its stock grants to senior management during that period (which had

to be publicly disclosed) were de minimis.

               146.   So even if shares outstanding on November 2 were closer to the

101,060,177 outstanding on August 28 rather than the 96,337,713 outstanding on

November 27, a post-November 2 repurchase of at least 15.5 million shares would have

left BBBY with at most 85.6 million shares outstanding by the time the Cohen

Defendants filed their Schedule 13D on March 7, 2022.

               147.   The 9,450,100 shares the Cohen Defendants beneficially owned on

March 7, 2022 would then amount to more than 11% of shares outstanding.

               148.   It follows that, as long as BBBY completed its $400 million in

accelerated buybacks on schedule — as it said it would, as analysts and investors

expected it to do, and as BBBY itself later confirmed it was doing — then the Cohen




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Defendants were virtually assured to beneficially own more than 10% of BBBY’s

outstanding shares by the time they completed their final purchases in early March 2022.

               149.    The Cohen Defendants had reviewed BBBY’s public disclosures

and were well aware that it was rapidly repurchasing stock at the end of its 2021 fiscal

year. The buybacks were even mentioned in Cohen’s March 6 letter to BBBY’s board.

Ex. A ex. 99.1 at 2.

               150.    Yet the Cohen Defendants ignored this information in calculating

their percentage beneficial ownership. They also ignored subsequent information BBBY

disclosed about its share count, even when that information confirmed beyond doubt that

the Cohen Defendants’ Schedule 13D had underreported their percentage beneficial

ownership.

               151.    Cohen had actual knowledge of the completion of BBBY’s stock

repurchase program no later than April 14, 2022. He referred to the completion of the

program in an email sent that day to his PR advisor.

               152.    A week later, on April 21, 2022, BBBY filed with the SEC its

annual report on Form 10-K disclosing that it had 79,845,789 shares outstanding on

March 26, 2022. The Cohen Defendants’ 9,450,100 shares amounted to 11.8% of that

total, significantly more than the 9.8% they had reported on their March 7 Schedule 13D.

               153.    BBBY would go on to disclose virtually the same share count in its

definitive proxy statement filed June 1, 2022 (79,886,442 shares outstanding on May 16)

and its 2022 Q1 quarterly report filed June 29, 2022 (79,957,649 shares outstanding on

May 28).




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               154.       These filings made plain that the denominator of 96,337,713 shares

used in the March 7 Schedule 13D overstated the actual number of shares outstanding by

more than 20%.

               155.       Under SEC Rule 13d-2(a), the Cohen Defendants were required to

amend their Schedule 13D to reflect any change in their percentage beneficial ownership

of one percent or more, even if that change resulted only from a decrease in the share

count. The version of the rule in effect in 2022 required such an amendment to be filed

“promptly.”

               156.       Yet the Cohen Defendants did not amend the percentage beneficial

ownership figures reported in their March 7 Schedule 13D until August 16, 2022, more

than five months later.

               157.       The Cohen Defendants ignored all of the information BBBY

disclosed about its shrinking share count even as they devoured every other morsel of

information they could work out of their deputy directors or BBBY’s management.

               158.       When properly calculated based on the number of BBBY shares

actually outstanding, the Cohen Defendants’ percentage beneficial ownership exceeded

10% before they finished purchasing BBBY’s equity securities in March 2022.

               159.       Specifically, the Cohen Defendants passed the 10% mark no later

than March 1, 2022, with their purchase that day of 5,000 call option contracts entitling

them to buy 500,000 BBBY shares at $80.00 on or before January 20, 2023. With that

purchase, the Cohen Defendants beneficially owned at least 8,670,554 shares while

BBBY had no more than 81,979,000 shares outstanding.




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                  160.     The Cohen Defendants continued to beneficially own more than

10% of BBBY’s common stock until August 16, 2022. With their open-market sale on

August 16 of 65,442 shares (the last of a 5,000,000-share firm order placed with their

broker that day), the Cohen Defendants returned below the 10% line.

                  161.     The Cohen Defendants disclosed their August 16 sales on a

Statement of Changes in Beneficial Ownership on Form 4 filed with the SEC after the

close of trading on August 18, 2022. A copy of that filing is attached as Exhibit I to this

First Amended Complaint.

                  162.     The trades disclosed on the August 18 Form 4 were the only

transactions in BBBY’s equity securities reported by the Cohen Defendants under

Section 16(a) of the Act.

II.          THE PURCHASES, SALES, AND PROFIT

                  163.     Table 1 below lists all of the transactions in BBBY’s equity

securities disclosed by the Cohen Defendants as occurring during the period of less than

six months from February 22, 2022 through the final liquidation of their position on

August 17, 2022. Set off in italics is the subset of transactions that the Cohen Defendants

made while beneficially owning more than 10% of BBBY’s common stock.

                        Table 1. The Cohen Defendants’ Purchases and Sales
                of BBBY’s Equity Securities Within a Period of Less than Six Months (1)
                                                          Section 16(b)                   Price per
      Date                    Transaction                  Treatment      Shares (2)      Share (2)

  02/22/22       Purchase of Common Stock                   Purchase         75,000       $14.0310
  02/24/22       Purchase of Common Stock                   Purchase        367,833       $15.2060
  02/24/22       Purchase of Common Stock                   Purchase        500,000       $13.6600
  02/24/22       Purchase of Common Stock                   Purchase        500,000       $14.5770
  02/24/22       Purchase of Common Stock                   Purchase        300,000       $13.4260
  02/25/22       Purchase of Common Stock                   Purchase        542,621       $16.2230
  02/25/22       Purchase of Common Stock                   Purchase       115,000        $16.1140
  02/28/22       Purchase of Common Stock                   Purchase       500,000        $16.6010




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                                                               Section 16(b)                 Price per
 Date                        Transaction                        Treatment      Shares (2)    Share (2)

02/28/22      Purchase of $60.00 January 2023 Call Option        Purchase        475,700     $16.8900
02/28/22      Purchase of $75.00 January 2023 Call Option        Purchase         24,300     $16.8900
03/01/22      Purchase of $60.00 January 2023 Call Option        Purchase        500,000     $16.6700
03/01/22      Purchase of $60.00 January 2023 Call Option        Purchase        150,000     $16.6700
03/01/22     Purchase of $75.00 January 2023 Call Option         Purchase         20,100     $16.6700
03/01/22     Purchase of $80.00 January 2023 Call Option         Purchase       500,000      $16.6700
03/01/22     Purchase of Common Stock                            Purchase       307,341      $16.9429
03/01/22     Purchase of Common Stock                            Purchase       311,660      $16.7564
03/01/22     Purchase of Common Stock                            Purchase         70,545     $16.6800
03/02/22     Purchase of Common Stock                            Purchase         69,516     $17.2540
03/03/22     Purchase of Common Stock                            Purchase         20,484     $16.8090
08/16/22     Sale of Common Stock                                  Sale         446,399      $18.6848
08/16/22     Sale of Common Stock                                  Sale         812,448      $19.4817
08/16/22     Sale of Common Stock                                  Sale        1,443,818     $20.7834
08/16/22     Sale of Common Stock                                  Sale        1,059,021     $21.4209
08/16/22     Sale of Common Stock                                  Sale         795,559      $22.7094
08/16/22     Sale of Common Stock                                  Sale         169,335      $23.3294
08/16/22     Sale of Common Stock                                  Sale         103,901      $24.8686
08/16/22     Sale of Common Stock                                  Sale         104,077      $25.5919
08/16/22      Sale of Common Stock                                 Sale           65,442     $26.2714
08/17/22      Sale of Common Stock                                 Sale          189,689     $23.7337
08/17/22      Sale of Common Stock                                 Sale          512,185     $24.6266
08/17/22      Sale of Common Stock                                 Sale          896,238     $25.4997
08/17/22      Sale of Common Stock                                 Sale          610,828     $26.4432
08/17/22      Sale of Common Stock                                 Sale          323,483     $27.5756
08/17/22      Sale of Common Stock                                 Sale          140,788     $28.5122
08/17/22      Sale of Common Stock                                 Sale          106,789     $29.2192
08/17/22      Sale of $60.00 January 2023 Call Option              Sale          747,500     $23.0800
08/17/22      Sale of $60.00 January 2023 Call Option              Sale          378,200     $23.0800
08/17/22      Sale of $75.00 January 2023 Call Option              Sale           44,400     $23.0800
08/17/22      Sale of $80.00 January 2023 Call Option              Sale          382,600     $23.0800
08/17/22      Sale of $80.00 January 2023 Call Option              Sale          117,400     $23.0800

  (1) Transactions in italics were made while the Cohen Defendants beneficially owned more than
      10% of BBBY’s outstanding common stock. The August 16 sales were executed as part of a
      single, 5,000,000-share firm order placed by the Cohen Defendants with their broker.
  (2) Call option trades are listed showing the number of underlying shares rather than the number
      of option contracts. The listed price per share represents the contemporaneous price of BBBY
      common stock at the time of trade, which is estimated for purposes of this First Amended
      Complaint based on the closing price on the trade date. See 17 C.F.R. § 240.16b-6(c)(2).




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                164.   The Cohen Defendants made all of the trades in Table 1 over the

open market. The trades included garden-variety purchases and sales of BBBY common

stock as well as trades in standardized call option contracts on that stock.

                165.   The call options listed in Table 1 gave the Cohen Defendants the

unilateral right to purchase BBBY’s common stock at fixed exercise prices at any time on

or before option expiration. The value of the options tended to increase or decrease as

the underlying stock price increased or decreased, and the options accordingly gave the

Cohen Defendants “long” or “call equivalent” exposure to BBBY’s common stock.

                166.   Under Rules 16a-1(b), (c) and 16b-6(a), the purchases and sales of

these call options are properly treated as purchases and sales of BBBY’s underlying

common stock for purposes of Section 16(b) of the Act. 17 C.F.R. §§ 240.16a-1(b), (c),

240.16b-6(a).

                167.   So treated, the purchases and sales of these call options may be

matched with any sales and purchases, respectively, of the underlying stock within any

period of less than six months. Under Rule 16b-6(c)(2), the purchases and sales of the

call options are matched with sales and purchases of the stock at the contemporaneous

prices of BBBY’s common stock at the time of the matching trades. See id. § 240.16b-

6(c)(2).

                168.   The contemporaneous price of the common stock is estimated in

Table 1 from the closing price of BBBY’s publicly traded common stock on the date of

each purchase or sale of call options. Discovery will reveal the contemporaneous price of

the common stock at the moment each call option was purchased or sold.




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               169.    Under the “lowest-in, highest-out” method for computing realized

profit pursuant to Section 16(b) of the Act, the Cohen Defendants realized a profit

estimated at approximately $47,173,867.96 from the transactions in Table 1.

               170.    Under the plain terms of Section 16(b) of the Act, the Cohen

Defendants are liable to repay this profit in its entirety because the profit was realized

while the Cohen Defendants acted as statutory directors through their deputies on

BBBY’s board.

               171.    The Cohen Defendants are independently liable under the statute to

repay the profit realized from the italicized transactions in Table 1 because those

transactions were made while the Cohen Defendants beneficially owned more than 10%

of BBBY’s outstanding common stock.

               172.    Under the “lowest-in, highest-out” method for computing realized

profit pursuant to Section 16(b) of the Act, the Cohen Defendants realized a profit of

approximately $5,415,398.40 from their transactions while beneficially owning more

than 10% of BBBY’s outstanding common stock. That profit is recoverable irrespective

of any liability the Cohen Defendants may have in their capacity as BBBY’s statutory

directors.

                     SOLE CLAIM FOR RELIEF:
       RECOVERY OF SHORT-SWING PROFIT UNDER 15 U.S.C. § 78p(b)
                (AGAINST EACH COHEN DEFENDANT)

               173.    BBBY realleges and incorporates by reference the allegations in

paragraphs 1-172 above.

               174.    Section 16(b) of the Securities Exchange Act of 1934, as amended,

reads in pertinent part as follows:




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               For the purpose of preventing the unfair use of information which
               may have been obtained by [a 10 percent] beneficial owner,
               director, or officer by reason of his relationship to the issuer, any
               profit realized by him from any purchase and sale, or any sale and
               purchase, of any equity security of such issuer (other than an
               exempted security) or a security-based swap agreement involving
               any such equity security within any period of less than six months,
               unless such security or security-based swap agreement was
               acquired in good faith in connection with a debt previously
               contracted, shall inure to and be recoverable by the issuer,
               irrespective of any intention on the part of such beneficial owner,
               director, or officer in entering into such transaction of holding the
               security or security-based swap agreement purchased or of not
               repurchasing the security or security-based swap agreement sold
               for a period exceeding six months. Suit to recover such profit may
               be instituted at law or in equity in any court of competent
               jurisdiction by the issuer, or by the owner of any security of the
               issuer in the name and in behalf of the issuer if the issuer shall fail
               or refuse to bring such suit within sixty days after request or shall
               fail diligently to prosecute the same thereafter; but no such suit
               shall be brought more than two years after the date such profit was
               realized.

15 U.S.C. § 78p(b).

               175.    At all relevant times after March 24, 2022, each Cohen Defendant

qualified as a statutory director of BBBY and was subject to Section 16(b) of the Act.

               176.    At all times from March 1, 2022 through August 16, 2022, each

Cohen Defendant beneficially owned more than 10% of BBBY’s outstanding common

stock and was also thereby subject to Section 16(b) of the Act.

               177.    While subject to Section 16(b) of the Act, the Cohen Defendants

realized a profit upon the sale of BBBY’s equity securities as further alleged herein.

               178.    Each of the Cohen Defendants’ sales of BBBY’s equity securities

was made within a period of less than six months of, and at higher prices than, purchases

of BBBY’s equity securities by the Cohen Defendants.




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               179.       Certain of the Cohen Defendants’ purchases and sales of BBBY’s

equity securities within a period of less than six months were also made while the Cohen

Defendants beneficially owned more than 10% of BBBY’s outstanding common stock as

further alleged herein.

               180.       Each Cohen Defendant had a direct or indirect pecuniary interest in

all of the purchases and sales of BBBY’s equity securities alleged herein.

               181.       Under the “lowest-in, highest-out” method for computing realized

profit pursuant to Section 16(b) of the Act, the Cohen Defendants realized a recoverable

profit estimated at not less than $47,173,867.96 from their purchases and sales of

BBBY’s equity securities within a period of less than six months.

               182.       Under the “lowest-in, highest-out” method for computing realized

profit pursuant to Section 16(b) of the Act, the Cohen Defendants realized a recoverable

profit of not less than $5,415,398.40 from their purchases and sales of BBBY’s equity

securities within a period of less than six months while beneficially owning more than

10% of BBBY’s outstanding common stock.

               183.       Under Section 16(b) of the Act, the profit realized by the Cohen

Defendants as alleged herein inured to and is recoverable by BBBY.

                                   PRAYER FOR RELIEF

       WHEREFORE, BBBY prays this Court for judgment:

       (a)     Requiring each Cohen Defendant to account for and pay over to BBBY

               the short-swing profit realized and retained by such Cohen Defendant in

               violation of Section 16(b) of the Act in a total amount not less than

               $47,173,867.96, together with appropriate pre- and post-judgment interest

               and the costs of this suit;


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           (b)   Awarding BBBY its costs and disbursements including reasonable

                 attorney’s, accountant’s, and expert witness fees; and

           (c)   Granting BBBY such further relief as the Court deems just and proper.

                              DEMAND FOR JURY TRIAL

                 BBBY respectfully demands a trial by jury on each and every question so

triable.

Dated: November 8, 2024
                                                Respectfully submitted,

                                                /s/ James A. Hunter

                                                James A. Hunter
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                                                   Inc., f/k/a Bed Bath & Beyond Inc.




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